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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                  §
In re:                            §                           Chapter 11
                                  §
TALEN ENERGY SUPPLY, LLC, et al., §                           Case No. 22-90054 (MI)
                                  §
                 1
         Debtors.                 §                           (Joint Administration Requested)
                                  §

    NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF ALL PLEADINGS

         PLEASE TAKE NOTICE that Haynes and Boone, LLP (“Haynes and Boone”) and

Davis Polk & Wardwell LLP (“Davis Polk”) appear as counsel for Citibank, N.A. (“Citibank”), in

the above-captioned Chapter 11 cases pursuant to Rules 2002, 3017(a), 9007, 9010 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and request that copies of any

and all notices, pleadings, motions, orders to show cause, applications, presentments, petitions,

memoranda, affidavits, declarations, and orders, or other documents, filed or entered in these

cases, be transmitted to:

            HAYNES AND BOONE, LLP                                 DAVIS POLK & WARDWELL LLP
               Charles A. Beckham, Jr.                                     Damian S. Schaible
                 Arsalan Muhammad                                           Elliot Moskowitz
         1221 McKinney Street, Suite 4000                                      David Schiff
                 Houston, TX 77010                                             Nate Sokol
             Telephone.: (713) 547-2000                                  450 Lexington Avenue
              Facsimile.: (713) 547-2600                                 New York, NY 10017
     Email: charles.beckham@haynesboone.com                           Telephone: (212) 450-4000
    Email: arsalan.muhammad@haynesboone.com                            Facsimile: (212) 701-5800
                                                                Email: damian.schaible@davispolk.com
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                                                                  Email: david.schiff@davispolk.com
                                                                 Email: nathaniel.sokol@davispolk.com




1
 A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ proposed
claims and noticing agent at https://cases.ra.kroll.com/talenenergy. The Debtors’ primary mailing address is 1780
Hughes Landing Boulevard, Suite 800, The Woodlands, Texas 77380.


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         PLEASE TAKE FURTHER NOTICE that this request includes not only the notices

and papers referred to in the Bankruptcy Rules and title 11 of the United States Code, but also

includes orders and notices of any application, motion, petition, pleading, request, complaint, or

demand, whether formal or informal, whether written or oral, and whether transmitted or

conveyed by mail, courier service, hand-delivery, telephone, facsimile transmission,

electronically, or otherwise filed with regard to the above case.

         PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance nor any

prior or later appearance, pleading, claim, or suit shall waive any right of Citibank to (a) have

final orders in non-core matters entered only after de novo review by a District Court judge, (b)

trial by jury in any proceeding so triable in this case or any case, controversy, or proceeding

related to this case, (c) have the District Court withdraw the reference in any matter subject to

mandatory or discretionary withdrawal, or (d) any other rights, claims, actions, defenses, setoffs

or recoupments, under agreements, in law, in equity, or otherwise, all of which rights, claims,

actions, defenses, setoffs, and recoupments are expressly reserved.




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DATED: May 10, 2022

Respectfully submitted,

By: /s/ Charles A. Beckham, Jr.
Charles A. Beckham, Jr.                       Damian S. Schaible (pro hac vice pending)
Texas State Bar No. 02016600                  Elliot Moskowitz (pro hac vice pending)
Arsalan Muhammad                              David Schiff (pro hac vice pending)
Texas State Bar No. 24074771                  Nate Sokol (pro hac vice pending)
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                          COUNSEL FOR CITIBANK, N.A.




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                               CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document was served by
electronic mail via the Court’s ECF system to all parties authorized to receive electronic notice
in this case on May 10, 2022.


                                            /s/ Charles A. Beckham, Jr.
                                            Charles A. Beckham, Jr.




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